Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 1 of 34 PageID 746



                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


TAYLOR MEDIA COPR. D/B/A THE
PENNY HOARDER,

       Plaintiff.                                     CASE NO.: 8:19-cv-01174-WFJ-SPF

v.

FLUENT, INC., FLUENT, LLC AND SEA
OF SAVINGS LLC a/k/a SEA OF
SAVINGS, LLC,

      Defendants
_________________________________/

         DEFENDANTS’ DISPOSITIVE MOTION TO DISMISS PLAINTIFF’S
       COMPLAINT WITH PREJUDICE PURSUANT TO FED. R. CIV. P. 12(b)(6)

       Defendants Fluent, Inc., Fluent, LLC and Sea of Savings, LLC (“Defendants”), hereby

move pursuant to Rule12(b)(6), Fed. R. Civ. P., for the Court to dismiss with prejudice each

count of Plaintiff Taylor Media Corp. d/b/a The Penny Hoarder’s (“Plaintiff’s”) Complaint for

failure to state a claim upon which relief can be granted. Defendants’ motion should be granted

with prejudice because no relief could be granted under any set of facts that could be proved

consistent with the allegations set forth in the Complaint by Plaintiff.

I.     INTRODUCTION

       Plaintiff and Defendants both operate personal finance websites, Plaintiffs at

thepennyhoarder.com and Defendants at thesmartwallet.com (formerly thebillwizard.com).

(Complaint (Doc. 1), ¶¶14, 18, 36-39). Both companies attract consumers through “money-

saving opportunities and tips” through which consumers “interact with the Website ....” (Doc. 1

¶¶14-15, 20-21, 32-34, 39 & Ex. 3). To do this, both Plaintiff and Defendants offer free content

with information to assist potential customers with their personal finances. These articles
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 2 of 34 PageID 747



describe products and services offered by third parties. By way of example, such articles have

included information about a scholarship offered by Barbizon, restaurants offering hot dogs on

National Hot Dog Day, and a gift card offered by Disney. (See Doc. 1 Exs. 16-18). Both Plaintiff

and Defendants generate revenue via customers interacting with their sponsors and affiliates.

       Displeased with legitimate competition, Plaintiff brought this action against Defendants

based on a variety of legal theories. In so doing, Plaintiff claims to own ideas and facts that are

clearly in the public domain. Plaintiff’s Complaint centers on the following five legal theories:

(1) Copyright Infringement (Counts I-III); (2) Unfair Competition (Count IV); (3) Breach of

Contract (Count V); (4) Tortious Interference (Count VI); and (5) Trade Secrets (Count V). After

discussing the relevant case law on a motion to dismiss pursuant to Rule 12(b)(6), Fed.R.Civ.P.,

this motion focuses on each of these legal theories in turn and demonstrates why dismissal with

prejudice is appropriate on each.

II.    LEGAL STANDARD UNDER FEDERAL RULE 12(b)(6)

       Dismissal is warranted under Rule 12(b)(6), Fed.R.Civ.P., when it is “clear that no relief

could be granted under any set of facts that could be proved consistent with the allegations.”

Blackston v. State of Ala., 30 F.3d 117, 120 (11th Cir. 1994), quoting Hishon v. King &

Spalding, 467 U.S. 69, 73 (1984). “[T]he tenet that a court must accept as true all of the

allegations contained in a complaint is inapplicable to legal conclusions. Threadbare recitals of

the elements of a cause of action, supported by mere conclusory statements, do not suffice.”

Jacobs v. Tempur-Pedic Int'l, Inc., 626 F.3d 1327, 1333 (11th Cir. 2010), quoting Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). To this end, “formulaic recitation of the elements of a cause of

action will not do.” Jacobs, 626 F.3d at 1333, quoting Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 555 (2007).



                                                2
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 3 of 34 PageID 748



       On a motion to dismiss, “courts must consider the complaint in its entirety, as well as

other sources courts ordinarily examine when ruling on Rule 12(b)(6) motions to dismiss, in

particular, documents incorporated into the complaint by reference, and matters of which a court

may take judicial notice.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322

(2007). Thus, for example, in Allen v. USAA Cas. Ins. Co., 790 F.3d 1274, 1278 (11th Cir. 2015),

the Eleventh Circuit noted the propriety of considering “a document – such as an insurance

policy [that] is central to the plaintiff's claim, [where] its contents are not in dispute, and the

defendant attaches the document to its motion to dismiss.” Allen v. USAA Cas. Ins. Co., 790

F.3d 1274, 1278 (11th Cir. 2015).

III.   ARGUMENT

       A.         Copyright Counts I-III Should Be Dismissed With Prejudice

       Defendants seek dismissal with prejudice of each of Plaintiff’s counts for copyright

infringement. Count I of the Complaint alleges direct copyright infringement against Defendant

Sea of Savings, LLC (“SOS”) with respect to thirteen specific articles published by Plaintiff at its

website. In short, Plaintiff claims that Defendant SOS published thirteen articles at its website,

each of which allegedly infringes one of Plaintiff’s articles. Count II alleges contributory

copyright infringement by Defendants Fluent, Inc. and Fluent, LLC with respect to these same

articles. Count III alleges vicarious copyright infringement against Defendants Fluent, Inc. and

Fluent, LLC with respect to these same articles. (Doc. 1 at pp. 36-43). Because contributory

copyright infringement and vicarious copyright infringement cannot exist without direct

copyright infringement, see A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013 n.2 (9th

Cir, 2001), dismissal of Count I with prejudice must also result in dismissal of Counts II and III

with prejudice.



                                                 3
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 4 of 34 PageID 749



               1.      The legal standard relevant to a motion to dismiss counts for
                       copyright infringement.

       To establish a valid claim of copyright infringement, Plaintiff must satisfy two elements:

(1) ownership of a valid copyright; and (2) copying of protectable elements. See Home Design

Services, Inc. v. Turner Heritage Homes Inc., 825 F.3d 1314, 1320 (11th Cir. 2016). This motion

to dismiss is directed solely at the second element.

       “In many copyright infringement cases, the issue of infringement is intertwined with the

issue of determining which parts of the work are actually protected by the copyright—once the

court separates out the protectable elements of a work, it can become clear that no reasonable

jury could find the defendant's work infringing.” Baby Buddies, Inc. v. Toys R Us, Inc., 611 F.3d

1308, 1314 (11th Cir. 2010). For this reason, the Eleventh Circuit has recognized the court’s

critical role in differentiating between non-copyrightable elements where there might be

substantial similarity and protectable elements where there is substantial dissimilarity. See

Intervest Const., Inc. v. Canterbury Estate Homes, Inc., 554 F.3d 914, 920 (11th Cir. 2008);

accord Oravec v. Sunny Isles Luxury Ventures, L.C., 527 F.3d 1218, 1223 (11th Cir. 2008)(“we

have recognized that ‘non-infringement may be determined as a matter of law … either because

the similarity between two works concerns only non-copyrightable elements of the plaintiff's

work, or because no reasonable jury, properly instructed, could find that the two works are

substantially similar.’”)

       The circuit courts agree that where – as here – a copyright infringement complaint

incorporates all the alleged copyrighted and infringing material, the district court may dismiss

the matter pursuant to Rule 12(b)(6) because the materials at issue are “capable of examination

and comparison.” See Rentmeester v. Nike, Inc., 883 F.3d 1111, 1123 (9th Cir. 2018); accord

e.g., Peter F. Gaito Architecture, LLC v. Simone Development Corp., 602 F.3d 57, 63-64 (2nd


                                                 4
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 5 of 34 PageID 750



Cir. 2010); Tanksley v. Daniels, 902 F.3d 165, 172 (3rd Cir. 2018); Creations Unlimited, Inc. v.

McCain, 112 F.3d 814. 816 (5th Cir. 1997); Nelson v. PRN Productions, Inc., 873 F.2d 1141,

1143 (8th Cir. 1989); Jacobsen v. Deseret Book Co., 287 F.3d 936, 941-942 (10th Cir. 2002). In

Peter F. Gaito Architecture, for example, the court found dismissal with prejudice proper where

“the district court ha[d] before it all that [wa]s necessary to make a comparison of the works in

question ....” 602 F.3d at 65. Indeed, “where no reasonable juror could find substantial similarity,

justice is best served by putting “a swift end to meritless litigation.” Tanksley v. Daniels, 902

F.3d at 172.

               2.      Differentiation is needed to sort the protectable elements from the
                       non-protectable elements

       The United States Supreme Court has emphasized that “[n]ot all copying … is copyright

infringement.” Feist Publications, Inc. v. Rural Telephone Service Co., Inc., 499 U.S. 340, 362,

(1991). Copyright law guides the Court in its role in separating protectable elements from the

non-protectable elements.

                       a)     Ideas are not protectable in copyright.

       “In identifying the protected elements of a plaintiff's work, the court must be mindful of

the fundamental axiom that copyright protection does not extend to ideas but only to particular

expressions of ideas.” Oravec, 527 F.3d at 1225; accord Peter Letterese And Associates, Inc. v.

World Inst. Of Scientology Enterprises, 533 F.3d 1287, 1302 (11th Cir. 2008); see also 17 U.S.C.

§ 102(b) (“In no case does copyright protection for an original work of authorship extend to any

idea, procedure, process, system, method of operation, concept, principle, or discovery...”). “To

grant property status to a mere idea would permit withdrawing the idea from the stock of

materials that would otherwise be open to other authors, thereby narrowing the field of thought

open for development and exploitation. This effect ... would hinder, rather than promote, the


                                                 5
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 6 of 34 PageID 751



professed purpose of the copyright laws, i.e., ‘the progress of science and useful arts.’” 4

Melville B. Nimmer & David Nimmer, NIMMER ON COPYRIGHT §13.03[B][2][a](2019). To this

end, the idea/expression dichotomy serves as a First Amendment safeguard. See Golan v.

Holder, 565 U.S. 302, 328 (2012).

        The determination of whether the expression of an idea is protectable “often turns on the

level of abstraction or generalization of the works being compared.” Attia v. Society of New York

Hosp., 201 F.3d 50, 54 (2nd Cir. 1999). “Thus an author who records an idea has no claim of

copyright infringement against the taking of the idea. And if the idea is recorded at a very

general level of abstraction, there may be little or nothing in the original work that is protected

against copying. The problem of distinguishing an idea from its expression is particularly acute

when the work of ‘authorship’ is of a functional nature.” Id.

                       b)        Facts are not protectable in copyright.

       Facts may not be protected by copyright. See Feist Publications, 499 U.S. at 347; accord

Harper & Row Publishers, Inc. v. Nation Enterprises, 471 U.S. 539, 547 (1985)(“no author may

copyright facts or ideas.”) The Supreme Court has explained that “[t]his is because facts do not

owe their origin to an act of authorship. The distinction is one between creation and discovery:

The first person to find and report a particular fact has not created the fact; he or she has merely

discovered its existence.” Id.

                       c)        The doctrine of merger further decreases the scope of
                                 protectable expression.

        “[M]erger … means that similarity of expression, whether literal or nonliteral, which

necessarily results from the fact that the common idea is only capable of expression in more or

less stereotyped form, precludes a finding of actionable similarity.” 4 NIMMER      ON   COPYRIGHT

§13.03[B][3][c](2019). As the Eleventh Circuit explained: “The merger doctrine operates as an


                                                  6
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 7 of 34 PageID 752



exception to the normal idea-expression dichotomy. The doctrine holds that, when there are so

few ways of expressing an idea, not even the expression is protected by copyright.” BUC Int’l

Corp. v. International Yacht Council Ltd., 489 F.3d 1129, 1143 (11th Cir. 2007). As the court

explained by way of example: “When ... an image of a cigarette is centered in the middle of the

circle with the line through it, this visual sign expresses the idea that smoking is not allowed.

This same symbol is used in a wide variety of contexts to express that something is prohibited ....

Since there are effectively only a few ways of visually presenting the idea that an activity is not

permitted, copyright law would not protect the expression in this case, i.e., the circle with the

line through it.” Id.

                        d)          Scènes à faire are also not protectable in copyright.

        “[T]he mere employment of scènes à faire – defined as ‘incidents, characters or settings

which are as a practical matter indispensable, or at least standard, in the treatment of a given

topic’ – cannot amount to infringing conduct.” Frye v. YMCA Camp Kitaki, 617 F.3d 1005, 1008

(8th Cir. 2010), quoting Taylor Corp. v. Four Seasons Greetings, LLC, 315 F.3d 1039, 1042 (8th

Cir.2003)). This is because “similarities between two works ‘that are limited to hackneyed

elements cannot furnish the basis for finding substantial similarity.’” Id., quoting 4 NIMMER ON

COPYRIGHT §13.03[B]4 at 13–75 (2002)). Thus, in Frye, the court rejected claims of copyright

infringement regarding interactive plays with medieval themes offered at YMCA summer camps.

                        e)          Titles are not protectable in copyright.

        The U.S. Copyright Office recognizes that copyright does not protect titles. Thus, the

Copyright      Office        will      not     register   copyrights     in    titles.      See,   e.g.,

https://www.copyright.gov/help/faq/faq-protect.html;         U.S. Copyright     Office,     Circular 1,

Copyright Basics https://www.copyright.gov/circs/circ01.pdf. Courts have reached this same

conclusion, see e.g., Shaw v. Lindheim, 919 F.2d 1353, 1362 (9th Cir.1990); Phillips v. Murdock,

                                                      7
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 8 of 34 PageID 753



543 F. Supp.2d 1219, 1224 (D. Haw. 2008); Kirkland v. National Broadcasting Co., Inc., 425 F.

Supp. 1111, 1114 (E.D.Pa.1976), aff’d, 565 F.2d 152 (3d Cir.1977) (“[I]t has been well-

established that a copyright in literary material does not secure any right in the title itself”), as

have commentators, see e.g., 1 NIMMER      ON   COPYRIGHT §2.16 (2019); 2 PATRY ON COPYRIGHT

§4:2 (2019).

               3.      “Thin” copyrights require super-substantial similarity.

        Certain types of copyrights generally possess little creativity and are afforded only “thin”

protection. In Feist Publications, the Supreme Court held that copyrights in compilations such as

telephone directories are at best “thin” copyrights. See 499 U.S. at 349. The Court reasoned that

“[n]otwithstanding a valid copyright, a subsequent compiler remains free to use the facts

contained in another's publication to aid in preparing a competing work, so long as the

competing work does not feature the same selection and arrangement.” Id. The Court explained

that “no matter how much original authorship the work displays, the facts and ideas it exposes

are free for the taking .... [T]he very same facts and ideas may be divorced from the context

imposed by the author, and restated or reshuffled by second comers, even if the author was the

first to discover the facts or to propose the ideas.” Id. (quotation omitted). Thus, a “white pages”

telephone directory that merely listed telephone numbers and addresses for a particular

geographic region in alphabetical order was not copyrightable. Even if the defendant copied from

the directory, no infringement could occur.

        It follows that when dealing with a “thin” copyright, a copyright owner must establish not

mere “substantial similarity,” but “supersubstantial similarity.” See TransWestern Pub. Co. LP v.

Multimedia Marketing Associates, Inc., 133 F.3d 773, 776 (10th Cir. 1998); accord 4 NIMMER

ON   COPYRIGHT §13.03[A] at 13–28 (2019). Like factual compilations, architectural works,

computer graphic user interfaces (GUIs), toy doll sculptures and catalogs have been deemed the
                                                  8
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 9 of 34 PageID 754



subject of “thin” copyrights requiring virtually verbatim copying before an infringement can be

found. See Mattel, Inc. v. MGA Entm’t, Inc., 616 F.3d 904, 915 (9th Cir. 2010)(toy doll

sculptures); Intervest Const., Inc. v. Canterbury Estate Homes, Inc., 554 F.3d 914 (11th Cir.

2008)(architectural works); Apple Computer, Inc. v. Microsoft Corp., 35 F.3d 1435 (9th Cir.

1994)(GUIs); Pampered Chef, Ltd. v. Magic Kitchen, Inc., 12 F. Supp. 2d 785, 792 (N.D. Ill.

1998)(catalogs).

               4.     Plaintiff’s copyright claims should be dismissed with prejudice
                      because there is no substantial similarity, let alone super-substantial
                      similarity, with respect to the few potentially protectable elements in
                      Plaintiff’s articles.

        Applying these copyright principles to each of the thirteen (13) accused infringements

leads to the inescapable legal conclusion that there is no “plausible,” see Iqbal, 556 U.S. at 678,

basis upon which a reasonable jury could find substantial similarity as to the protectable

elements of Plaintiff’s works. Dismissal with prejudice on Counts I-III is therefore warranted.

Like factual compilations and catalogs, Plaintiff’s copyright-registered articles are merely

collections of pre-existing facts and third-party information. As such, these works are at best

“thin” and infringement could only be established by near verbatim copying. Nevertheless, under

either the “thin” or “regular” copyright standard, the protectable elements in the copyrighted

articles are so few and the similarity of protectable elements so inconsequential that there is no

basis on which a reasonable jury could plausibly find actionable copying of protectable elements.

                      a.      Complaint Ex. 9 – “Freelancer”

       The common and unoriginal idea underlying both Plaintiff’s article and Defendant’s

article is the discussion of seven (7) free online tools and apps that are recommended by

freelancers. Each article discusses the same pre-existing seven online tools and apps (albeit in a

somewhat different order) recommended previously by freelancers. Given the common topic – a

                                                9
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 10 of 34 PageID 755



 discussion of seven free online tools and apps previously recommended by freelancers – it is not

 surprising that the same online tools and apps are discussed.

            To evaluate the possibility of a plausible claim of substantial similarity, this Court must

 filter the protectable elements from the non-protectable elements. To assist the Court in this task,

 Defendant attaches as Ex. 9-A (correlating to Plaintiff’s Complaint exhibit numbering to avoid

 confusion) a side-by-side comparison of the respective articles highlighting similar text. 1 Of

 course, from these highlighted portions of the text, non-protectable elements must be identified

 and removed from the analysis. This includes titles, expressions of ideas that are

 indistinguishable from the underlying idea (merger), facts and third-party content that is

 unoriginal to the author. A demonstrative comparison of the similar content after the extraction

 of clearly non-protectable elements is reflected in attached Ex. 9-B. 2

            The result of this filtration is a handful of remotely similar text segments 3 such as:

                                Plaintiff                                                  Defendant
     Whether you're just dipping your foot into freelance                    whether you're a new freelancer or
     waters or you have a full-fledged freelance enterprise                               veteran

                        So we kept it simple                                         Let's make it simpler

                  Maybe you've heard of Google                            This is owned by a little company that
                                                                            you may have heard of: Google.

                assure that I finish projects on time                            to ensure you stay on track




 1
     In selecting potentially similar content, Defendants have endeavored to err of the side of overinclusiveness.
 2
  As stated above, Defendants attempted to perform all filtrations in this motion in a manner that errs on the side of
 Plaintiff. Defendants would certainly argue that some of these remaining similar text segments are not protectable
 under the doctrines of merger or scenes a faire.
 3
   Unlike the defendant in Letterese, Defendants here do not suggest that the Court filter out these short and
 unoriginal phrases from all consideration. Cf. 533 F.3d at 1306. These short and unoriginal phrases should be
 considered. Defendants argue instead that such consideration confirms that absence of any plausible claim of
 copyright infringement.

                                                             10
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 11 of 34 PageID 756



        As a supplemental and alternative approach, Defendants also highlighted each time three

 or more of the same words appear in order in both articles. The result of this analysis can be

 found in attached Exhibit 9-C. Finally, attached Exhibit 9-D removes the clearly non-protectable

 elements from Exhibit 9-C. What remains are a handful of rather innocuous phrases:

         the latest tools             A quick Google search                hundreds of the

  recommended by freelancers             heard of Google               intuitive and easy to use

       for any freelancer          involved with filing quarterly        on being productive
                                    freelance taxes and tracking
                                               money

       time is spent, too         one of the easiest ways to send        If you find yourself
                                    and receive money online

        These demonstrative approaches reveal the innate “thinness” of Plaintiff’s work from a

 copyright standpoint. The article merely recounts pre-existing material and the known

 characteristics of pre-existing third-party software (and apps). Common textual concepts are

 driven by the subject-matter rather than creative expression. Verbatim similarities are limited to

 innocuous phrases rather than meaningful substance. “It is axiomatic that copyright law denies

 protection to ‘fragmentary words and phrases’ and to ‘forms of expression dictated solely at

 functional considerations’ on the grounds that these materials do not exhibit the minimal level of

 creativity necessary to warrant copyright protection.” CMM Cable Rep, Inc. v. Ocean Coast

 Properties, Inc., 97 F.3d 1504, 1519 (1st Cir. 1996), quoting 1 NIMMER ON COPYRIGHT

 §2.01[B], at 2–13–18; accord, e.g., Arica Inst., Inc. v. Palmer, 970 F.2d 1067, 1072–73 (2d

 Cir.1992)(single words and short phrases in copyrighted text are not copyrightable); Alberto–

 Culver Co. v. Andrea Dumon, Inc., 466 F.2d 705, 711 (7th Cir. 1972)(finding “most personal

 sort of deodorant” a short phrase or expression, not an “appreciable amount of text,” and thus not

 protectable); Perma Greetings, Inc. v. Russ Berrie & Co., Inc., 598 F.Supp. 445, 448 (E.D. Mo.

                                                11
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 12 of 34 PageID 757



 1984)(“Clichéd language, phrases and expressions conveying an idea that is typically expressed

 in a limited number of stereotypic fashions, [sic] are not subject to copyright protection”); Magic

 Marketing v. Mailing Services of Pittsburgh, Inc.,, 634 F.Supp. 769, 771 (W.D. Pa.

 1986)(phrases describing envelope contents and instructing recipients are unprotectable).

          The protectable textual content of Plaintiff’s “Freelancer” article lacks substantial

 similarity, let alone super-substantial similarity, such that a plausible copyright infringement

 claim cannot possibly be stated.

                            b.       Complaint Ex. 10 – “Birthday Freebies”

          The idea at issue with this claimed infringement is anything but novel: a list of third-party

 businesses offering birthday promotions. Both Plaintiff (114 businesses) and Defendant (100

 businesses) amass lists of these third-party promotions. Given the number of third-party

 promotional offers reflected, the existence of duplicates is not surprising. Nevertheless, of

 Plaintiff’s 114 items, 30% (34) do not appear on Defendants’ list. Of Defendants’ 100 items,

 20% (20) do not appear on Plaintiff’s list. Stated in another fashion, of the 134 entities listed on

 one or both of the third-party birthday promotions lists over 40% (54) appear on one list but not

 the other. See attached Ex. 10-A.

          In this alleged infringement, filtering the protectable from the unprotectable is easy. The

 titles are not protectable; nor is any of the content. The listings are mere recitations of third-party

 facts, i.e., the identity of the third-party business offering the birthday promotions and a short

 squib (merger) describing the terms of the offer along with an internet link to the third-party.

 Confirmation of this reality is demonstrated by clicking on the links to the third-party sites 4

 which establish that Plaintiff created no protectable content in describing the third-party offers.


 4
   As Plaintiff appended the entirety of both articles as Ex. 10 to the Complaint, this Court can properly refer to the
 included links on this Rule 12(b)(6) motion. Those links become part of the four corners of the Complaint. See Peter

                                                          12
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 13 of 34 PageID 758



          To the extent that Plaintiff possesses any copyright in this article, it does so as a

 compilation. As recognized in Feist Publications, only a unique selection and arrangement of

 these pre-existing facts can possibly be protectable. Yet, Plaintiff arranges its list in alphabetical

 order and merely repeats language from the promoted specials. Cf. Feist Publications, 499 U.S.

 at 363 (nothing remotely creative or protectable in arranging names alphabetically in a white

 pages directory). Further, as a compilation, Plaintiff’s list of third-party birthday promotional

 offers is – at best – a “thin” copyright for which protection requires super-substantial similarity.

 With over 40% of the entities appearing on one list but not the other, the requisite near

 “verbatim” copying is absent. No reasonable jury could properly find copying of protectable

 elements as to this list.

                            c.       Complaint Ex. 11 – “Mountain Home Giveaway”

          This article is emblematic of the theme of Plaintiff’s articles. Plaintiff (like Defendants)

 merely republishes a third-party contest offered by the DIY Network in which entrants seek to

 win a North Carolina mountain house and $50,000. Are there similarities in the two articles? Of

 course. See attached Ex. 11-A. Both articles republish information regarding this third-party

 contest that clearly came from the DIY Network website (which has since been changed). When

 the clearly pre-existing facts and information are removed from Plaintiff’s article, however, the

 only remaining textual similarities are the following:

                           Plaintiff                                               Defendant
                        Check out the                                             Check out the

                   The house is amazing                                    The house looks amazing


 F. Gaito Architecture, 602 F.3d at 64 (a district court may consider “the facts as asserted within the four corners of
 the complaint” together with “the documents attached to the complaint as exhibits, and any documents incorporated
 in the complaint by reference.”) To this end, Exhibit 10-B contains the linked materials from four of the entities
 whose promotions are described on both lists. The overlap between the language in these linked materials and the
 language in Plaintiff’s article is clear.

                                                          13
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 14 of 34 PageID 759



 See attached Exhibit 11-B. These two small textual fragments are insufficient as a matter of law

 to permit a plausible action for copyright infringement.

                          d.      Complaint Ex. 12 – “LaCroix Cash Back Offer”

        Similar to the preceding article republishing information about DIY Network’s “win a

 North Carolina mountain home and $50,000” contest, this article republishes information

 regarding two third-party cash back promotions for LaCroix beverages offered through a phone

 app called Ibotta. Both Plaintiff’s and Defendants’ republications share common information and

 facts regarding the third-party promotional offers. See attached Exhibit 12-A. However, as

 previously discussed, Plaintiff cannot claim copyright ownership in the unoriginal (at least to

 Plaintiff) information and facts surrounding these promotions.

        When this unprotectable content is separated out, the only remaining similar content is:

                          Plaintiff                                  Defendant
             you’d already be purchasing                    you were going to buy anyway

                        you can have                               you can pocket

 See attached Ex. 12-B. Again, such nominal and innocuous textual fragments cannot rise to a

 plausible claim for copyright infringement. Likewise, the common theme of publicizing pre-

 existing, third-party promotions is merely a shared “idea” that cannot be appropriated under the

 rubric of copyright.

                          e.      Complaint Ex. 13 – “Eye Exam at Home”

        This article continues the theme of reporting about third-party promotions. In this case,

 the promotion is from 1-800 Contacts and consists of: (1) a self-help, at-home eye exam through

 a 1-800 Contact’s online video; and (2) an offer from 1-800 Contacts for a $19.99 contacts

 prescription and a $10 glasses prescription with purchase of the contacts prescription. As

 expected, there is a fair amount of similarity between Plaintiff’s and Defendants’ article as both

                                                 14
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 15 of 34 PageID 760



 address the same promotion and come from the same linked source material. See attached

 Exhibits 13-A and 13-C. 5

         After filtering out the clearly protectable elements, a smattering of similar, fragmented

 textual phrases remain:

                         Plaintiff                                              Defendant
      That's why I became so intrigued when I                   That's why I was completely intrigued
                     found out                                            when I found out

       free of any doctor or human interaction                         without human interaction

      And much more fun ... it felt more like a                 plus it was a lot of fun, like playing a
                 video game.                                                     game.

                     I’m nearsighted                                         I’m nearsighted

                   an unusual question                                       an odd question

     (I needed to take 13, so make sure you have               Mine was 13 steps so be sure you have
                   plenty of room).                                      enough space!

        or if you don't have insurance I highly                  or if you don’t have insurance, then
        recommend trying out an online exam                       definitely try out the online exam

 See Attached Exhibit 13-B. These remaining similar textual fragments are little more than

 unprotectable scenes a faire when considered in the context of a free, on-line eye exam. See

 CMM Cable Rep, Inc., 97 F.3d at 1522 (“the complained-of similarities consist of unoriginal

 elements flowing from the undisputed standard and inherent characteristics of [the subject

 matter]” and as such “flow from the logic and necessities of [the subject matter]”).

         For example, the common reference to “13 steps” results from the respective authors

 following the instructions from the 1-800 Contact instructional video and having the same sized

 feet. As in CMM Cable, “we cannot disregard the fact that, while perhaps not ‘dictated solely at


 5
  Attached Exhibit 13-C contains a printout from the 1-800 Contacts website that appears when a reader hits the link
 appearing in the articles reproduced by Plaintiff in Complaint Ex. 13. Of course, no originality can be claimed by
 Plaintiff for anything appearing in Ex. 13-C.

                                                         15
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 16 of 34 PageID 761



 functional considerations,’ the phraseology is nonetheless inescapably functional in that it tells

 potential participants how to participate and how the [exam] works.” Id. at 1520. Accordingly,

 Plaintiff cannot properly allege the copying of anything protectable with respect to this article.

                          f.       Complaint Ex. 14 – “Lucktastic’s Free Digital Scratch-Off
                                   Cards”

          This article is another example of Plaintiff simply discussing an offering by a third-party,

 in this case, digital scratch-off cards offered through an app called Lucktastic. Once again, as the

 parties’ articles address the same topic (i.e. idea) and take material from Lucktastic itself, the

 articles contain common text and common images. See attached Exhibits 14-A and 14-C. 6

          A review of the linked Lucktastic website (Ex. 14-C), reveals that most of the textual

 content of Plaintiff’s article is mere recitation of how the Lucktastic app scratch-off works and/or

 functional content to be expected from an author describing the promotion. When the

 unprotectable aspects of the article are separated and removed, the remaining common text is

 greatly reduced. Indeed, many of the similarities are common ideas, not common expression:

                          Plaintiff                                            Defendant
      I never truly understood the concept of lottery         I never really understood the appeal back
     tickets. You pay for a piece of paper then watch          then. You're spending money on a small
                            TV                                   piece of paper to then watch the TV

      As an adult, I understand: There's something           I get it now, as an adult. Although I'm not
     thrilling about spending a couple of bucks on a           a gambler, it IS super exciting to think
         ticket that could magically blossom into            about winning the lotto and becoming part
              hundreds of millions of dollars.                        of “The Rich and Famous.”

        you don't have to spend money to make it               don't pay the convenience stores for it to
           happen. There's a free app for that.               happen because there's a free app for that.

     This helps make the games free, so be patient!            Be patient as this is how the game stays
                                                                          free for everyone!



 6
   Attached Exhibit 14-C contains a printout from the Luckstatic website that appears when a reader hits the link
 appearing in the articles reproduced by Plaintiff in Complaint Ex. 14.

                                                       16
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 17 of 34 PageID 762




                        Remember to                                          Also: Don’t forget to

      But with anything that has to do with luck,                 luck has a lot to do with it so it's best to
           remain realistic about the odds.                                     stay realistic.

   Why not play Lucktastic if you have some extra                Why not play Lucktastic when you have
               time on your hands?                                          some free time?

     Plus, Lucktastic is free, and it's all about luck,           It's also 100% free to play and since it's
      so the more you play, the more chances you                 all about luck, your chances of hitting the
              have of hitting the jackpot.                         jackpot get higher the more you play.

 See Attached Exhibit 14-B. These similarities are de minimus and idea-oriented rather than

 expression-oriented. They constitute the exact type of functionally-driven scenes a faire one

 would expect in an article about a scratch-off cards. No reasonable jury could find copyright

 infringement.

                            g.       Complaint Ex. 15 – “Save Money Without Thinking About It”

          The articles at issue in Complaint Exhibit 15 share a common topic (“idea”): how to save

 money using a third-party app called Digit. Once again, because both articles describe the Digit

 app and take information from Digit itself, they inevitably share common phrases and text. See

 attached Exhibits 15-A and 15-C. 7 Yet, when clearly unprotectable elements including pre-

 existing factual information are filtered from the articles, virtually nothing remains:

                           Plaintiff                                               Defendant
                       I was intrigued                                         I was ... intrigued

                      I wouldn’t notice                                        I wouldn’t notice

                          At first, ...                                            At first, ...

 See Attached Exhibit 15-B. As no plausible claim of substantial similarity could exist, Plaintiff’s

 claim relating to this article should be dismissed as well.

 7
   Attached Exhibit 15-C contains a printout from the Digit website that appears when a reader hits the link appearing
 in the articles reproduced by Plaintiff in Complaint Ex. 15.

                                                          17
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 18 of 34 PageID 763



                          h.       Complaint Ex. 16 – “Barbizon College Tuition Scholarship”

         This article is reminiscent of the DIY Network “win a North Carolina mountain home

 contest” discussed above. Both Plaintiff’s and Defendants’ articles discuss a $100,000

 scholarship offered by Barbizon College. As the description of the scholarship program must

 necessarily be discussed in each article, and as both articles link to Barbizon’s own description of

 the contest, there is of course common content. See attached Exhibits 16-A and 16-C. 8

         When clearly unprotectable elements such as the pre-existing factual information are

 removed, virtually nothing common remains:

                          Plaintiff                                            Defendant
     require essays, transcripts, recommendations              No essays, letters of recommendation or
                                                                         transcripts required

       make sure to read the official rules before            still, it's worth reading the official rules of
                       entering                                                  the contest

 See attached Ex. 16-B. As a matter of law, these miniscule similarities cannot support a plausible

 claim of infringement.

                          i.       Complaint Ex. 17 – “National Hot Dog Day”

         Plaintiff’s article in this alleged infringement is much like its “Birthday Freebies” article.

 Both parties’ articles list restaurants offering promotional specials on National Hot Dog Day

 (apparently, this occurs on July 18th). Each article lists the same six pre-existing, third-party

 restaurant promotions. Unlike the “Birthday Freebies” article, Plaintiff does not try to claim

 copyright in a compilation for this article. (See Doc. 1-5 at Ex. 23 pp. 1-2 of 14 [Copyright Reg.

 No. TX 8-682-297]). Thus, Plaintiff claims copyright solely in the text of the article. As both

 articles list the same six hot dog promotions offered by third parties, and as the particular offers


 8
   Attached Exhibit 16-C contains a printout from the Barbizon website describing the contest that appears when a
 reader hits the link appearing in the articles reproduced by Plaintiff in Complaint Ex. 16.

                                                       18
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 19 of 34 PageID 764



 clearly come from publications by the third parties themselves, it is no surprise that there is

 common text. See attached Exhibits 17-A and 17-C. 9

         Nevertheless, the content of the text for each listed restaurant is nothing more than factual

 information about the promotion and an embedded link to the promotion itself. Once this clearly

 unprotectable content is removed, virtually nothing is left of consequence:

                          Plaintiff                                              Defendant
         especially during the summer months                              Summer-time favorite

                  Fan of gas station dogs                                 Gas-station dog lovers

                      keep an eye out                                         keep an eye out

     Don’t forget about your local dog stands ... and             Don't forget about your local hot dog
                         shops.                                             stands and shops!

     ... will you be supporting your local businesses         ... plus you'll be supporting small business

 See attached Ex. 17-B. Virtually everything remaining is exactly what one would expect to see in

 an article about businesses offering promotions for National Hot Dog Day in the middle of the

 summer. No plausible claim for infringement of protected material can be advanced.

                           j.       Complaint Ex. 18 – “Win a $500 Disney Gift Card”

         In this article, Plaintiff (like Defendants) simply republishes pre-existing information

 regarding a promotional contest offered by the app Shopkick for a chance to win a $500 Disney

 Gift Card. Both articles address the same third-party promotional contest, and as a result, contain

 similar content. See attached Exhibit 18-A. After removing the unprotectable common factual

 information related to the promotion, only the slightest and most ephemeral common content

 remains:



 9
   Attached Exhibit 17-C contains a printout from the Philly Pretzel Factory Facebook page describing the promotion
 that appears when a reader hits the link appearing in the articles reproduced by Plaintiff in Complaint Ex. 17.

                                                        19
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 20 of 34 PageID 765



                        Plaintiff                                        Defendant
      missed out a on trip to Disney this summer          Missed out on a Disney trip this summer?

     It's been super steamy down here in Florida,           With the heatwaves going on in both
    anyway, and California's been going through a                  Florida and California
                       heat wave

         Waiting until October or November                    Wait until October or November

   you just might have [a $500 Disney gift card] in       you might have [a $500 gift card] in hand
                    hand by then

 See attached Ex. 18-B. This common text is cliché for articles addressing a promotional contest

 to win a $500 Disney gift card. It certainly does not give rise to a plausible claim of copyright

 infringement.

                        k.      Complaint Ex. 19 – “Checking Accounts”

        The common topic (idea) of the articles that make up Plaintiff’s Complaint Ex. 19 is a

 discussion of desirable checking accounts. This common topic is about all that is common

 between the articles. Plaintiff’s article reviews ten different checking accounts and purports to be

 an omnibus review of checking accounts offered by multiple banks. In contrast, Defendants’

 article merely recommends two online checking accounts also reviewed by Plaintiff: Chime and

 Varo. To the extent that there is common textual content, see attached Exhibit 19-A, the

 similarities result from the common topic of checking accounts and the four common criteria of

 fees, rewards, accessibility/eligibility and mobility.

        Of course, as both parties discuss Chime and Varo, common factual information is

 presented. Clearly, the vast majority of this information comes from the material provided by the

 banks themselves. For example, attached Exhibit 19-C contains a printout from the Chime Bank

 website linked in the articles reproduced by Plaintiff in Complaint Ex. 19.




                                                   20
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 21 of 34 PageID 766



           Although the number of commonalities is larger for this article and thus are not

 reproduced here, filtering out the clearly non-protectable elements leaves only: (1) terminology

 one would expect in an article about switching bank accounts; (2) common assessment

 guidelines; and (3) the grades awarded by the respective authors. See attached Exhibit 19-B. In

 the case of Chime, the grades differ; in the case of Varo, they are the same. These modest

 similarities pale in comparison to the fact that Plaintiff’s article considers an additional eight

 checking accounts not mentioned in Defendants’ article at all. It follows that Plaintiff cannot

 possibly plead any facts on which relief can be granted with respect to its copyright claims for

 this article.

                          l.      Complaint Ex. 20 – “Shopping With Ibotta”

           The articles that appear in Plaintiff’s Complaint Exhibit 20 both discuss the benefits of

 using a cash-back shopping app called Ibotta. As both articles discuss the same unprotectable

 topic and both clearly rely in great part on information from Ibotta itself, the articles contain

 similar content. See attached Exhibits 20-A and 20-C. 10 Once clearly unprotectable content such

 as that discussing the functionality and attributes of the Ibotta app is removed, the remaining

 content is underwhelming:

                          Plaintiff                                         Defendant
       “It kept me from living on Ramen,” she says.             “It kept me from living on [PBJ
                                                               sandwiches and] ramen,” she says.

       the cash-back app Ibotta since 2013 and has          the cash back Ibotta app since early 2014
               earned $307.60 back so far                         and has made $309.11 so far

      “We were so broke. It's really helped me a lot.”         “... I was almost broke” ... “The app
                                                                       definitely helped me.”

      Although she's made it through that tough time,       Even though she's in a better spot now,
      she still uses the app religiously. She loves that   Gabrielle still uses the app any chance she
 10
   Attached Exhibit 20-C contains a printout from the Ibotta website that appears when a reader hits the link
 appearing in the articles reproduced by Plaintiff in Complaint Ex. 20.

                                                     21
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 22 of 34 PageID 767



    she's earning cash back on something she'd be        gets. "I love that I can get cash back on
           doing anyway (spending money).                stuff I'm already going to buy anyway."

    though Rice loves deal-stacking at Publix and          although Gabrielle loves using it at
                       Target.                                    Walmart and Target,

              She’s also used Ibotta to ...                       she also uses it on ...

                 earned about $45 back                               gotten back $45

               No ... newspaper coupons                    and there's no need to clip coupons

            No, Ibotta won't make you rich.              Ibotta obviously won't make you rich.

     But, like Rice says, it's a nice little boost of    But for Gabrielle, it was a great way to
     money for something you're already doing.           get cash back on stuff she was going to
                                                                      buy anyway.

     lt's easy to associate Ibotta with groceries, ...      Ibotta offers a lot more than just
        But it's constantly adding more partners,        groceries, and they're constantly adding
                                                                       new retailers

                 There are plenty more                             There are a lot more

    Don't Overspend Just for a Cash-Back Boost           Don't Spend Just to Save a Few Bucks

 See Attached Exhibit 20-B. These phrases generally constitute scenes a faire and functional,

 merged content one would expect in an article about saving money through a cash-back app.

 They certainly do not give rise to an actionable claim for copyright infringement.

                         m.      Complaint Ex. 21 – “National Cheeseburger Day”

        Plaintiff’s final claim of infringement is a redux of the “Birthday Freebies” and “National

 Hot Dog Day” lists relating third-party promotions. In this case, the articles list third-party

 restaurant promotions for National Cheeseburger Day. Plaintiff’s list is alphabetical and lists

 twelve restaurant promotions. Defendants’ list is not alphabetical and lists nine restaurant

 promotions. As shown in attached Exhibit 21-C, much of the content comes directly from that of




                                                    22
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 23 of 34 PageID 768



 the third-party promoters. 11 Like its registration for “National Hot Dog Day,” Plaintiff only

 claims textual rights, not rights in the list as a compilation. (See Doc. 1 at Ex. 23 pp. 11-14 of 14

 [Copyright Reg. Nos. TX 8-679-228 & TX 8-680-673]). Presumably, this is in recognition of the

 lack of protectability for a compilation of only twelve restaurants in an innately limited universe.

         The resulting similarities appear in attached Exhibit 21-A. Both Plaintiff and Defendants

 merely provide squibs describing the terms of each listed restaurant’s promotion and an

 embedded link to the restaurant’s website. Of course, this pre-existing, factual information is not

 protectable. Once clearly unprotectable content is removed, all that is left is the following:

                          Plaintiff                                            Defendant
      McDonald's has made no specific mention of                  While not specifically for National
            National Cheeseburger Day                                    Cheeseburger Day

 See Attached Exhibit 21-B. No plausible claim can exist for copyright infringement.

         B.       Plaintiff’s Unfair Competition Count Should Be Dismissed

         In Count IV of the Complaint, Plaintiff purports to allege a cause of action for unfair

 competition, seemingly under Florida law. Count IV must be dismissed with prejudice for two

 reasons. First, to the extent Plaintiff’s action for unfair competition is based on alleged copying

 and reproduction of the content of Plaintiff’s website, it is preempted by the Copyright Act.

 Second, to the extent Plaintiff’s cause of action is based on an alleged likelihood confusion

 caused by the general appearance of Plaintiff’s and Defendants’ websites, it fails to properly

 plead a claim for unfair competition.

                  1.      Copyright preemption prohibits much of Count IV.

         The Copyright Act preempts “legal or equitable rights that are equivalent to any of the

 exclusive rights within the general scope of copyright as specified by section 106 in works ... that

 11
   Attached Exhibit 21-C contains printouts from three links appearing in the articles reproduced by Plaintiff in
 Complaint Ex. 21.

                                                       23
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 24 of 34 PageID 769



 ... come within the subject matter of copyright as specified by sections 102 and 103.” 17 U.S.C.

 §301(a). As a result, “no person is entitled to any such right or equivalent right in any such work

 under the common law or statutes of any State.” Id. As the Eleventh Circuit and other circuits

 have recognized, “one function of §301(a) is to prevent states from giving special protection to

 works of authorship that Congress has decided should be in the public domain.” Lipscher v. LRP

 Publications, Inc., 266 F.3d 1305, 1311 (11th Cir. 2001)(quotation omitted).

        The Eleventh Circuit utilizes a two-part test in copyright preemption cases. Copyright

 preemption occurs if “the rights at issue: (1) fall within the subject matter of copyright set forth

 in sections 102 and 103; and (2) are equivalent to the exclusive rights of section 106.” Lipscher,

 266 F.3d at 1311(quotation omitted); see also Utopia Providers Systems, Inc. v. Pro-Med

 Clinical Systems, L.L.C., 596 F.3d 1313, 1325 (11th Cir. 2011).

        The Eleventh Circuit also employs the “extra element” test to determine whether a cause

 of action is preempted by the Copyright Act. See Lipscher, 266 F.3d at 1311. Under this test, a

 state cause of action is preempted unless “an extra element is required instead of or in addition to

 the acts of reproduction, performance, distribution or display ….” Id. at 1311-12 (quotation

 omitted). Importantly, the extra element cannot be any additional element. To the contrary, to

 avoid preemption, the extra element must “change[] the nature of the action so that it is

 qualitatively different from a copyright claim.” Bateman v. Mnemonics, 79 F.3d 1532, 1549

 (11th Cir. 1996)(emphasis in original).

        In Count IV, Plaintiff alleges that “Defendants copy and reproduce not only [Plaintiff’s]

 Copyrighted Content, but also elements of [Plaintiff’s] Website that are not copyrightable ... such

 as the image types.” (Doc. 1 ¶195). Plaintiff alleges further that Defendants allegedly hired

 Plaintiff’s ex-employees to use their knowledge “to make [Defendants’] website even more



                                                 24
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 25 of 34 PageID 770



 observably similar [to that of Plaintiff] – in many instances containing nearly identical

 combinations of words, terms, names symbols, devices, website features, visual assets, and

 content.” (Id. ¶203).

        Website content falls within the subject matter of copyright as set forth in section 102 of

 the Copyright Act. See St. Luke's Cataract and Laser Institute, P.A. v. Sanderson, 573 F.3d 1186

 (11th Cir. 2009). Similarly, to the extent relevant to this analysis, computer programs fall within

 the subject matter of copyright protection set forth in sections 102 and 103 of the Copyright Act.

 See, e.g., Computer Associates Intern., Inc. v. Altai, Inc., 982 F.2d 693, 702 (2nd Cir. 1992);

 Apple Computer, Inc. v. Franklin Computer Corp., 714 F.2d 1240, 1249 (3d Cir. 1983).

        Thus, the only remaining question for purposes of determining copyright preemption is

 whether the state rights claimed in Counts IV are equivalent to the exclusive rights of section

 106. The exclusive rights under section 106 of the Copyright Act include the rights to reproduce,

 prepare derivative works, distribute, and where applicable, perform and display a work. See 17

 U.S.C. §106. In Count IV, Plaintiff claims rights equivalent to those in section 106. These

 include that right to prohibit Defendants from allegedly: (1) “copy[ing] and reproduce[ing]”

 website content (Doc. 1 ¶195); (2) “creat[ing] a version that mimics its language and tracks its

 content” (Doc. 1 ¶197); (3) “st[ealing]” content and “repost[ing]” it (Doc. 1 ¶198);

 (4) ”copy[ing] elements of [Plaintiff’s] website (Doc. 1 ¶199); and (5) “mak[ing] their website

 even more observably similar [to that of Plaintiff].” (Doc. 1 ¶203). Thus, to the extent Count IV

 is based on the alleged copying or reproduction of any of Plaintiff’s content, it is preempted.

        While Plaintiff might argue that its allegation that Defendants’ hired away Plaintiff’s ex-

 employees somehow constitutes a sufficient “extra element,” it could not. The claim would

 remain qualitatively the same as a copyright claim. The only difference would be Plaintiff’s



                                                 25
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 26 of 34 PageID 771



 allegation that this hiring of Plaintiff’s ex-employees somehow assisted Defendants in allegedly

 copying and reproducing Plaintiff’s content. Again, any claim predicated on the alleged copying

 of material with copyrightable or uncopyrightable is pre-empted.

                2.     Plaintiff cannot possibly plead unfair competition through a
                       likelihood of confusion caused by the appearances of the websites of
                       Plaintiff and Defendants.

        Plaintiff further alleges unfair competition through Defendants’ alleged use “of a

 confusingly similar website to sell services in competition with [Plaintiff’s] services.” (Doc. 1

 ¶206). Such a claim is in line with a common law trademark claim or knocking-off claim relating

 to alleged trade dress infringement. Because Plaintiff does not and cannot properly plead this

 claim as a matter of law, this aspect of Count IV should be dismissed with prejudice as well.

        In this Circuit, trade dress cannot be protected unless “it is trade dress sufficiently

 distinctive [that] consumers can identify the product from the trade dress.” See AmBrit, Inc. v.

 Kraft, Inc., 812 F.2d 1531, 1536 (11th Cir. 1986). Plaintiff’s Complaint makes no allegations –

 nor could it – that its website appearance or layout is either “distinctive” or has acquired

 secondary meaning such that consumers actually associate the website’s appearance and layout

 as identifying Plaintiff. See Hard Rock Cafe International USA, Inc. v. RockStar Hotels, Inc.,

 2018 WL 7825183 at *17 - *18 (S.D. Fla. 2018). Further, Plaintiff must demonstrate that its

 website appearance and layout is primarily non-functional. See AmBrit, 812 F.2d at 1538; Hard

 Rock Cafe International USA, Inc., 2018 WL 7825183 at *19; Best of Everything of Southwest

 Florida, Inc. v. Simply the Best, LLC, 2011 WL 4634147 (M.D. Fla. 2011)(alleged claim for

 trade dress that is “long on vague descriptions and short on facts” must be dismissed). Plaintiff

 has not, nor can it, plausibly allege that its website appearance and layout is primarily non-

 functional.



                                                26
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 27 of 34 PageID 772



        C.      Plaintiff’s Breach of Contract Allegations Cannot Stand

        In Count V of the Complaint, Plaintiff alleges that Defendants breached the “Terms of

 Service” agreement that exists as a link at its website. (Doc. 1 ¶¶27-31; 209-15 & Ex. 2). The

 sole purpose of including Count V in the Complaint seems to be to take advantage of its

 attorney’s fees provision. The Complaint makes no mention of the location of the “Terms of

 Service” link on Plaintiff’s website. Nor does (or can) Plaintiff allege that Defendants actually

 accessed this link or that a visitor to the website is forced to actively agree to the “Terms of

 Service” before using the website. Instead, Plaintiff can only assert that Defendants allegedly

 “knew the Terms of Service existed” and “consented to the terms” by “accessing, browsing, or

 using” the website. (Doc. 1 ¶¶30, 213).

        As Plaintiff provides a link to the website in the Complaint (Doc. 1 ¶30), the Court can

 consider a copy of the www.thepennyhoarder.com homepage (attached hereto as Exhibit “A”) as

 part of this Motion to Dismiss. The referenced “Terms of Service” link appears in small type at

 the bottom right of the homepage. Visitors are not forced to acknowledge, much less review, the

 “Terms of Service.” Given the location and minimization of the “Terms of Service” link on the

 homepage, it is fair to question whether visitors would even realize it is there. Even if a visitor

 was aware of the Terms of Service, the document itself is twelve pages long. The attorney’s fees

 provision on which Plaintiff relies is but a single sentence between pages 11 and 12. (See Doc. 1,

 Ex. 2 at pp. 34-35 of 122). Florida law applies to the Terms of Service. (See Doc 1, Ex. 2 at p. 35

 at 122).

        For a contract to be binding and enforceable, there must be “mutual assent to certain and

 definite contractual terms; without a meeting of the minds on all the essential terms, no

 enforceable contracts arises.” IT Strategies Grp., Inc. v. Allday Consulting Grp., L.L.C., 975 F.

 Supp. 2d 1267, 1280 (S.D. Fla. 2013)(quotation omitted). This axiom remains true for Internet

                                                 27
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 28 of 34 PageID 773



 contracts. Id. As the United States Federal Court for the Southern District of Florida noted in IT

 Strategies, there are generally two types of potential Internet contracts. In the first, the primary

 means of contract formation is a click-through agreement in which the user clicks an “I agree”

 box after being presented with the terms and conditions of use. Id. In the second, so-called

 “browsewrap” agreements, terms and conditions of use appear through a link, typically at the

 bottom of the screen. Id. The instant case is a “browsewrap” situation.

          In IT Strategies, the district court held that there could be no contract in a “browsewrap”

 situation where “the Plaintiff has not offered any evidence that the Defendants agreed to its

 terms.” Id. at 1282. Similarly, in Cvent, Inc. v. Eventbrite, Inc., 739 F.Supp.2d 927, 937-38 (E.D.

 Va. 2010), on which the IT Strategies decision partially relies, the court granted a motion to

 dismiss for failure to state a plausible claim where there were no plausible allegations that “the

 website user would have had actual or constructive knowledge of the site's terms and conditions

 and manifested assent to them.” Id. In Cvent, the court noted that “[m]ost courts which have

 considered the issue [agree] that in order to state a plausible claim for relief based upon a

 browsewrap agreement, the website user must have had actual or constructive knowledge of the

 site's terms and conditions, and have manifested assent to them.” Id. (citations omitted).

          Plaintiff does not assert, nor could it assert, that Defendants had actual or constructive

 knowledge of the terms and conditions in Plaintiff’s Terms of Service, much less that Defendants

 assented to them. Instead, Plaintiff alleges that Defendants “knew the Terms of Service

 existed.” 12 As a matter of law, this is insufficient to plead a cause of action on which relief can

 be based. Because Plaintiff could not possibly allege the necessary elements for a browsewrap

 Internet Contract, Count V should be dismissed with prejudice.


 12
    It is unclear how Plaintiff could properly have a sufficient evidentiary basis to even make this limited allegation
 within the confines of Rule 11(b)(3), Fed.R.Civ.P.

                                                          28
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 29 of 34 PageID 774



        D.      Plaintiff Brings Its Tortious Interference Count in the Wrong Court

        The Complaint in this action concedes that prior, pending state court litigation between

 the parties exists as it relates to the disputes involving Defendants’ hiring of Plaintiff’s former

 employees Logan Riley and Joshua Darby. (Doc. 1 ¶¶ 5, 149 & 151-154 & Ex. 1); see also

 Plaintiff’s Notice of Pendency of Related Cases (Doc. 9). The litigation ensued when Plaintiff

 sued its former employee, Logan Riley, in Pinellas County Circuit Court for inter alia breach of

 a covenant not to compete. Defendant Fluent, LLC then instituted a lawsuit before the same

 court against Plaintiff. These state court consolidated these lawsuits.

        In Vanover v. NCO Fin. Servs., Inc., 857 F.3d 833, 840 (11th Cir. 2017), the Eleventh

 Circuit made clear that the doctrine of claim splitting prevents a plaintiff from splitting potential

 legal claims against a defendant by bringing them in two different lawsuits. Here, Plaintiff’s

 claim for tortious interference with contractual relations with its former employees Riley and

 Darby is unquestionably a compulsory counterclaim in the prior, pending state court proceeding

 brought by Plaintiff against Riley.

        The test for claim-splitting in this Circuit is a two-factor test that analyzes: (1) whether

 the case involves the same parties and their privies; and (2) whether separate cases arise from the

 same transaction or series of transactions. Id. at 841-42, quoting Khan v. H & R Block E. Enters.,

 Inc., No. 11-20335-Civ, 2011 WL 3269440, at *6 (S.D. Fla. July 29, 2011)). In defining what

 constitutes a transaction or series of transactions, the Eleventh Circuit relies on Fifth Circuit

 precedent. What factual grouping constitutes a “transaction,” and what groupings constitute a

 “series,” are to be determined pragmatically, giving weight to such considerations as whether the

 facts are related in time, space, origin, or motivation, whether they form a convenient trial unit,

 and whether their treatment as a unit conforms to the parties’ expectations or business

 understanding or usage. Hence, “[t]he critical issue is whether the two actions under

                                                  29
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 30 of 34 PageID 775



 consideration are based on the same nucleus of operative facts.” Id. at 842 quoting Petro-Hunt,

 L.L.C. v. United States, 365 F.3d 385, 396 (5th Cir. 2004) (footnotes omitted).

        Since the prior, pending state court proceedings involve both the same parties and the

 same contracts that Plaintiff alleges here as being tortuously interfered with by Defendants, the

 actions arise from the same nucleus of operative facts. To the extent that Plaintiff has a claim for

 tortious interference by Defendants, that claim resides squarely before the state court in the

 pending litigation. To seek to assert the claim here is to “split” Plaintiff’s cause of action. This is

 impermissible under Vanover. Thus, the claim for tortious interference must be dismissed

 leaving Plaintiff to pursue the claim as it deems advisable before the state court.

        E.      Plaintiff Cannot Plead a Proper Request for Injunctive Relief Relating to
                Trade Secrets

        In Count VII, Plaintiff seeks injunctive relief for alleged threatened violations of the

 Florida Uniform Trade Secrets Act (“FUTSA”) and the federal Defend Trade Secrets Act of

 2016 (“DTSA”). (Doc.1 ¶¶49-52). The FUTSA and the DTSA contain similar elements.

 Generally speaking, to succeed under either, a plaintiff must establish the existence of a

 protectable trade secret and misappropriation of the trade secret through improper means. See

 Primo Broodstock, Inc. v. Am. Mariculture, Inc., Case No. 2:17-CV-9-FTM-29CM, 2017 WL

 1502714, at *10 (M.D. Fla. Apr. 27, 2017). To obtain injunctive relief under either statute, a

 plaintiff must demonstrate “[a]ctual or threatened misappropriation.” 18 U.S.C. §1836 (2019);

 Fla. Stat. § 688.003(1) (2019); Primo Broadstock, 2017 WL 1502714 at *10.

        For purposes of this motion, Defendants assume that Plaintiff actually possesses trade

 secrets – such as its source code – that could be misappropriated. Also for purposes of this

 motion, Defendants take in the light most beneficial to Plaintiff its allegations that:

 (1) Defendants allegedly instructed Joshua Darby, an ex-employee of Plaintiff then working for


                                                   30
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 31 of 34 PageID 776



 Defendants, “to copy [Plaintiff’s] password-protected, double-authenticated backend source

 code;” and (2) Mr. Darby “believes that ... he was hired by [Defendants] in order to provide the

 source code.” (Doc. 1 ¶¶56-57).

        It is clear from the Complaint that Plaintiff’s source code is the sole trade secret on which

 its request for injunctive relief could possibly be based. (See Doc. 1 ¶ 235). Nowhere in the

 Complaint does Plaintiff specify any alleged concrete effort or threatened effort by Defendants to

 misappropriate any other purported trade secret. Although Plaintiff claims that its trade secrets

 include customer and vendor lists, financial statements, methods of doing business and other

 information (Doc. 1 ¶231), Plaintiff makes only one specific mention in the Complaint of an

 alleged risk to a trade secret other than the source code. Even there, mention is made solely to

 assert that by soliciting former employees of Plaintiff, Defendants have “heightened access ... to

 information about [Plaintiff’s] business and methods ....” (Doc. 1 ¶175).

        Thus, Plaintiff’s main factual basis for claiming threatened misappropriation is

 Defendants’ alleged instruction for Mr. Darby to copy the source code once Mr. Darby came to

 work for Defendants. However, Mr. Darby admitted in deposition testimony (attached to the

 Complaint) that he never had access to Plaintiff’s source code after he left his employment with

 Plaintiff. (Doc. 1, Ex. 25 at 24:24-25). Thus, according to Mr. Darby himself, such an attempt

 was an impossibility. As a result, Plaintiff cannot allege any actual misappropriation. Instead,

 Plaintiff can only allege that in the past “Defendants attempted to steal or receive the trade

 secrets ...” (Doc. 1 ¶238).

        Otherwise, Plaintiff puts forth just one basis for alleging actual or threatened

 misappropriation, namely that “Defendants hired [Plaintiff’s] former employees with the specific

 intention to use said employees to misappropriate [Plaintiff’s] trade secrets.” (Doc. 1 ¶239).



                                                 31
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 32 of 34 PageID 777



 Such a naked, conclusory allegation, without more, cannot satisfy the pleading standards set

 forth in Iqbal, 556 U.S. at 662 and Twombly, 550 U.S. at 545. Tellingly, Plaintiff does not allege

 that anyone currently employed by Defendants maintains access to Plaintiff’s source code.

        Moreover, the DTSA states specifically that an injunction “to prevent ... threatened

 misappropriation” due to employment “shall be based on evidence of threatened

 misappropriation and not merely on the information the person knows.” 18 U.S.C.

 §1836(b)(3)(A)(i)(I). Even taken in the light most favorable to Plaintiff, Plaintiff cannot point to

 any current threatened misappropriation, much less any past threatened misappropriation that

 could possibly have succeeded. Mr. Darby is no longer employed with Defendants. (Doc. 1, Ex.

 25 at 17:15-21). Plaintiff deposed Mr. Darby under oath in the pendant state court proceedings,

 yet found no evidence of any continuing threat by Defendants to misappropriate any trade

 secrets. To the contrary, Mr. Darby testified that after an employee of Defendants first asked him

 to download Plaintiff’s source code, “[the employee] dropped it[, d]idn’t ask me again.” (Doc. 1,

 Ex. 25 at 17:3-6).

        Because Plaintiff cannot allege any actual or threatened misappropriation, Plaintiff is left

 with the doctrine of “inevitable disclosure” adopted in some states. To invoke the doctrine,

 however, a plaintiff must establish “a real and present danger of disclosure.” See Del Monte

 Fresh Produce Co. v. Dole Food Co., 148 F. Supp. 2d 1326, 1335 (S.D. Fla. 2001); see also

 Freedom Med. Inc. v. Whitman, 343 F. Supp. 3d 509, 521(E.D. Pa. 2018 (must show

 “employment is likely to result in the disclosure of a former employer’s trade secrets” (quotation

 omitted; applying Pennsylvania law))); Prime Therapeutics LLC v. Beatty, 354 F. Supp. 3d 957,

 969 (D. Minn. 2018)(inevitable disclosure doctrine sets “high bar” for injunctive relief).




                                                 32
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 33 of 34 PageID 778



        The doctrine of inevitable disclosure clearly cannot help Plaintiff. First, Florida has not

 adopted the “inevitable disclosure” doctrine in trade secret cases. Del Monte Fresh Produce, 148

 F. Supp. 2d at 1336. Second, as demonstrated by the pleadings, there is no possible circumstance

 under which Plaintiff could establish “a real and present danger of disclosure,” much less that

 “employment is likely to result in the disclosure of a former employer’s trade secrets” in this

 action. It follows that Count VII should be dismissed with prejudice.

        F.       Supplemental Jurisdiction Should Be Declined.

        Federal subject matter jurisdiction in this matter is predicated upon Plaintiff’s Copyright

 Infringement Claims (Counts I-III) and the alleged violation of the Defense of Trade Secrets

 Acts (Count VII). See 28 U.S.C. §1338(a) and 18 U.S.C. §1836(c). The remaining claims are

 state law claims. As both Plaintiff and Defendant Sea of Savings, LLC are Florida citizens, see

 28 U.S.C. §1332(c)(1)(Defendant Sea of Savings, LLC maintains its principal place of business

 in St. Petersburg, Florida), there is an absence of complete diversity among the parties.

        For the reasons set forth above, Plaintiff’s claims against Defendants for Copyright

 Infringement (Counts I-III) and violation of the Defense of Trade Secrets Act (Count VII) are

 infirm and subject to dismissal. Should this Court dismiss Counts I-II and VII, but permit one or

 more of the remaining Counts to stand or be repleaded, federal subject matter jurisdiction will no

 longer exist.

        Under 28 U.S.C. §1367(c)(3), this court may properly decline to exercise supplemental

 jurisdiction over Counts IV-VI if it dismisses Counts I-III and VII as a matter of the Court’s

 discretion. See Nero v. Mayan Mainstreet Inv 1, LLC, 645 Fed.Appx. 864, 869 (11th Cir. 2016).

 Given the early stage of the proceedings coupled with the pendency or prior-filed state court




                                                 33
Case 8:19-cv-01174-WFJ-SPF Document 16 Filed 06/11/19 Page 34 of 34 PageID 779



 proceedings, discretion dictates that this Court decline to exercise supplemental jurisdiction over

 any remaining state law claims.

 IV.    CONCLUSION

        For the foregoing reasons, Defendants respectfully request that each count of the

 Complaint be dismissed with prejudice for failure to state a claim under Rule 12(b)(6),

 Fed.R.Civ.P.

                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 11, 2019, I electronically filed the foregoing with the

 Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to

 the following:

                                              /s/ Frank R. Jakes
                                              Frank R. Jakes, FBN 372226
                                              E-Mail: frankj@jpfirm.com
                                              Joseph J. Weissman, FBN 0041424
                                              E-Mail josephw@jpfirm.com
                                              JOHNSON, POPE, BOKOR, RUPPEL
                                              & BURNS, LLP
                                              403 E. Madison Street, 4th Floor
                                              Tampa, FL 33602
                                              Tel: (813) 225-2500
                                              Fax: (813) 223-7118
                                              Counsel for Defendants




                                                 34
